                                                             MOSER LAW FIRM, PC
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                                                      June 25, 2024

VIA ECF

Hon. Steven I. Locke, USMJ
United States District Court, Eastern District of New York
100 Federal Plaza
Central Islip, NY 11717

       Re:     Hernandez, et ano v Rosso Uptown Ltd, et al, Case No. 20-cv-04026-JMA-SIL

Dear Judge Locke:

       I write in brief response to the letter from Mr. Michael Tizzano dated July 25, 2024.

        Since the Defendants discharged their newly retained attorney Kevin Johnson, on January
29, 2024, they have submitted numerous letters and motions which were prepared by someone
with legal knowledge. These skillfully drafted letters include six (6) motions to dismiss (ECF
No. 64, 2/20/24; ECF No. 69, 3/4/2024; ECF No. 70, 3/6/2024; ECF No. 73, 4/22/2024; ECF
No. 74, 4/22/2024; ECF No. 75, 4/29/2024). These letters are replete with exhibits, argument,
and citations to statutes.

       Defendants now insist that they cannot look up cases or statutes, and therefore write the
Court concerning the “Hostility of Plaintiff’s lawyer” in yet another letter which appears to have
been drafted by someone with legal expertise. The letter states, in part:

       In the process of preparing for our case, I reached out to Mr. Moser seeking detailed
       clarification on specific elements of the summary of facts referenced in his legal
       arguments. However, Mr. Moser has responded in a manner that I find uncooperative and
       obstructive. Specifically, Mr. Moser has limited his response to merely citing cases
       number and legal references without providing the requested detailed information
       (summary of the cases) or context necessary for me to fully understand and address the
       issue at hand.

         Mr. Tizzano states further that Plaintiffs’ counsels’ “approach not only impedes [his]
ability to prepare [his] case adequately but also seems contrary to the spirit of cooperative and
fair legal proceedings.”

        In order to avoid burdening the Court with yet another motion, I furnished all of the cases
and statutes requested by Mr. Tizzano via email to him at 1:05 PM today. I therefore
respectfully request that the Defendant’s letter, to the extent it is deemed a motion, be denied as
moot.


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       To the extent that the Defendants are working with the assistance of counsel, I
respectfully request that they provide the attorney’s contact information.

                                                    Respectfully Submitted,

                                                    Steven J. Moser
                                                    Steven J. Moser

CC:    All counsel of record via ECF




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